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   10                         UNITED STATES DISTRICT COURT
   11                        CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
   12
        INNOVATIVE SPORTS                                  Case No.: 2:22-cv-07303-TJH-PLA
   13   MANAGEMENT, INC., d/b/a
        INTEGRATED SPORTS MEDIA,                           PLAINTIFF’S NOTICE OF
   14                                                      MOTION AND MOTION TO
                                                           COMPEL; MEMORANDUM OF
   15                Plaintiff,                            POINTS AND AUTHORITIES
   16                                                      Date: May 10, 2023
              vs.                                          Time: 10:00 a.m.
   17                                                      Place: Courtroom 780, 7th Floor
        GERARDO VALDIVIA, individually                     Judge: Hon. Paul L. Abrams
   18
        and d/b/a TONDERO PERUVIAN
   19   CUISINE,
   20
                     Defendant.
   21

   22

   23   TO THE HONORABLE COURT, THE DEFENDANT AND TO HIS
   24   ATTORNEYS OF RECORD:
   25         PLEASE TAKE NOTICE that on May 10, 2023 at 10:00 a.m., or as soon
   26
        thereafter as this matter may be heard in Courtroom 780 of the United States
   27

   28   District Court, Central District of California, located at 255 East Temple Street,

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    1   Los Angeles, CA, 90012, Plaintiff Innovative Sports Management, Inc., d/b/a

    2   Integrated Sports Media (hereinafter “Plaintiff”), by and through counsel, will
    3
        present its Motion to Compel.
    4

    5         This Motion is brought pursuant to Plaintiff’s March 14, 2023 discovery

    6   deficiency letter and Plaintiff’s March 23, 2023 letter requesting a “meet and
    7
        confer” with respect to this specific Motion. Riley Decl., Ex. 1, 3. To date, no
    8

    9   response to either letter has been received. Id. ¶¶ 6, 8.

   10         For the reasons set forth herein and in the accompanying documentation
   11
        submitted herewith, Plaintiff respectfully requests that its Motion to Compel be
   12

   13   granted, and that the Court award such other relief as may be just and proper.

   14                                       Respectfully submitted,
   15

   16                                       /s/ Thomas P. Riley
        Dated: April 12, 2023               LAW OFFICES OF THOMAS P. RILEY, P.C.
   17                                       By: Thomas P. Riley
   18                                       Attorneys for Plaintiff
                                            Innovative Sports Management, Inc.,
   19                                       d/b/a Integrated Sports Media
   20

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    1                MEMORANDUM OF POINTS AND AUTHORITIES

    2         INTRODUCTION AND RELEVANT PROCEDURAL HISTORY
    3
              This is a commercial piracy case arising out of the alleged unlawful
    4

    5   interception, receipt and/or publication of Plaintiff’s November 11, 2021

    6   “Program,” the Peru v. Bolivia Soccer Match. Plaintiff served Interrogatories
    7
        (“INT”), Requests for Admission (“RFA”), and Requests for Production of
    8

    9   Documents (“RFP”) on Defendant on January 5, 2023. Riley Decl. ¶ 4; Id. Ex. 1-3.

   10   Defendant responded to the discovery on January 20, 2023. Id. ¶ 4; Id. Ex. 4-6. On
   11
        March 14, 2023, Plaintiff sent a detailed discovery deficiency letter to Defendant.
   12

   13   Id. ¶ 5; Id., Ex. 7. Defendant did not respond to Plaintiff’s March 14, 2023 letter.

   14   Id. ¶ 6. On March 23, 2023, Plaintiff sent a letter to Defendant requesting that he
   15
        participate in a meet and confer with respect to the instant Motion. Id. ¶ 7; Id., Ex.
   16

   17   9. Again, Defendant did not respond. Id. ¶ 8. To date, notwithstanding Plaintiff’s
   18   efforts, Defendant has made no effort to supplement and/or amend his original
   19
        discovery responses. Id. ¶ 9.
   20

   21   ///
   22   ///
   23
        ///
   24

   25   ///
   26   ///
   27
        ///
   28

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    1                                          ARGUMENT

    2   I.    DEFENDANT’S                DISCOVERY                RESPONSES                   WERE
    3
              INCOMPLETE AND EVASIVE, SUCH THAT THIS COURT
    4

    5         SHOULD COMPEL DEFENDANT TO RESPOND IN FULL.

    6         Federal Rule of Civil Procedure 37(a)(3)(B) permits the filing of a motion to
    7
        compel discovery. Under Rule 37, “an evasive or incomplete disclosure, answer, or
    8

    9   response must be treated as a failure to disclose, answer, or respond.” Fed. R. Civ.

   10   P. 37(a)(4). As discussed herein, Defendant’s discovery responses are evasive and
   11
        incomplete, and Defendant’s objections are not well taken.
   12

   13         A.     Interrogatories

   14         At the outset of his INT responses, Defendant includes “General
   15
        Objections.” Such objections have no legal validity. Silva v. Domino's Pizza, 2019
   16

   17   WL 6448961, at *2 (C.D. Cal. Sept. 30, 2019) (“Boilerplate, generalized
   18   objections are inadequate and tantamount to not making any objection at all”).
   19
        Within these General Objections, Defendant also purports to reserve the right to
   20

   21   supplement. There is already a duty to supplement. Fed. R. Civ. P. 26(e)(1). To the
   22   extent Defendant relies on the duty to supplement as an excuse not to answer
   23
        initially, that is improper. See Shaw v. Davis, 2021 WL 3889980, at *3 (D. Nev.
   24

   25   Aug. 31, 2021) (“the responding party must conduct a search for relevant
   26   information and must answer interrogatories after a diligent search.”)
   27
        ///
   28

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    1         In response to every INT, Defendant offers the same five boilerplate

    2   objections. See Riley Decl., Ex. 4, passim. Plaintiff discusses the defects with the
    3
        five particular objections below, but as an overarching matter, Defendant makes no
    4

    5   effort to identify any specific defect in any specific INT such that the responses are

    6   invalid on their face. See Fed. R. Civ. P. 33(b)(4); Monster Energy Co. v. Vital
    7
        Pharm., Inc., 2020 WL 6653583, at *10 (C.D. Cal. Jan. 2, 2020) (“[t]he grounds
    8

    9   for objecting to an interrogatory must be stated with specificity.”). In addition,

   10   “[t]he party who resists discovery has the burden to show discovery should not be
   11
        allowed, and has the burden of clarifying, explaining, and supporting its
   12

   13   objections.” Kilroy v. L.A. Unified Sch. Dist. Bd. of Educ., 2018 WL 6071403, at

   14   *2 (C.D. Cal. May 24, 2018) (citation omitted). That Defendant makes the same
   15
        objections to every INT only serves to confirm that the objections are invalid.
   16

   17   Alfaro v. City of San Diego, 2018 WL 4562240, at *1 (S.D. Cal. Sept. 21, 2018)
   18   (“The manner in which defendant deploys boilerplate objections demonstrates that
   19
        they are without substance. Indeed, for every interrogatory particularized response
   20

   21   provided, defendant first made a boilerplate objection.”).
   22         As to the five objections within each INT response, first, Defendant says
   23
        that the material is equally available to the Plaintiff. Setting aside the absurdity of
   24

   25   this with respect to certain INT (e.g., names of employees, income, account
   26   holders), this is not a valid objection. O.L. v. City of El Monte, 2021 WL 926105,
   27

   28

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    1   at *3 (C.D. Cal. Jan. 1, 2021) (“An objection that documents are equally available

    2   to the requesting party is inappropriate.”) (citation omitted).
    3
              Second, Defendant says hat Plaintiff seeks “information that is not
    4

    5   materially relevant to the Plaintiff’s claims.” First, the burden of establishing this

    6   on Defendant. Kilroy, 2018 WL 6071403 at *2 (C.D. Cal. May 24, 2018) (“[t]he
    7
        party who resists discovery has the burden to show discovery should not be
    8

    9   allowed, and has the burden of clarifying, explaining, and supporting its

   10   objections.”). Next, in many instances this objection is absurd on its face.
   11
        Presumably Defendant does not seriously intend to argue that the names of the
   12

   13   employees working on the night of the broadcast, the names of the owners of the

   14   establishment, and the types of television programming accounts the establishment
   15
        held are not relevant or, at a minimum, unlikely to lead to admissible evidence.
   16

   17         Third, Defendant says that “the only possible purpose of the request is to
   18   harass and to cause hardship to the plaintiff (sic) and needlessly increase the cost
   19
        of the litigation to the Respondent[.]” (emphasis added). On the contrary, another
   20

   21   “possible” purpose – and, in fact, the actual purpose - is to obtain information
   22   regarding what occurred at Tondero Peruvian Cuisine on November 11, 2021.
   23
        Moreover, at no time does Defendant indicate how he believes the INT to be
   24

   25   harassing.
   26         With respect to the objection that the “request is unnecessarily and
   27
        unreasonabl[y] cumulative and/or duplicative as well as obtainable from some
   28

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    1   other source that is more convenient, less burdensome and less expensive taking

    2   into account the needs of the case pursuant to Fed. R. Civ. P. 26(c),” once again,
    3
        Defendant offers no specificity. In particular, Defendant does not indicate how he
    4

    5   has already provided information such that an INT could even arguably be

    6   considered “cumulative or duplicative.” As a practical matter, as Defendant has
    7
        provided no substantive responses to any discovery request, this cannot be true.
    8

    9   Rule 26(c) applies specifically to protective orders. Fed. R. Civ. P. 26(c).

   10   Defendant has not sought a protective order, let alone identified any more
   11
        convenient avenue through which the information sought may be ascertained.
   12

   13         Defendant’s last objection is that the “requested information is not in the

   14   knowledge or possession of the Defendant at the present moment.” Setting aside
   15
        that it is difficult to believe that Defendant does not currently know such things as
   16

   17   who owned the establishment on November 11, 2021, this is not a valid objection.
   18   Defendant has a duty to obtain the information. Al Otro Lado, Inc. v. Neilsen, 328
   19
        F.R.D. 408, 418 (S.D. Cal. 2018) (“A party responding to a document request
   20

   21   cannot furnish only that information within his immediate knowledge or
   22   possession; he is under an affirmative duty to seek that information reasonably
   23
        available to him.”).
   24

   25         In response to INT No. 6, Defendant adds, “[s]ubject to and without waiving
   26   these objections, and to the extent Defendant understands this request, Defendant
   27
        responds as follows: Deny.” Riley Decl., Ex. 4, INT No. 6. The comment “to the
   28

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    1   extent Defendant understands this request,” has no meaning. If Defendant believes

    2   there is an ambiguity in the INT, he is required to address it with specificity. See
    3
        Thomas v. Cate, 715 F. Supp. 2d 1012, 1030 (E.D. Cal. 2010), order clarified
    4

    5   2010 WL 797019 (E.D. Cal. Mar. 5, 2010) (“the party objecting to discovery as

    6   vague or ambiguous has the burden to show such vagueness or ambiguity by
    7
        demonstrating that more tools beyond mere reason and common sense are
    8

    9   necessary to attribute ordinary definitions to terms and phrases.”). In any event,

   10   INT No. 6 asked Defendant to provide information as to each person who was
   11
        identified as a licensee of the establishment according to the City of Pico Rivera as
   12

   13   of Thursday, November 11, 2021. Riley Decl., Ex. 1, INT No. 6. “Deny” is

   14   nonresponsive.
   15
              Finally, and while a relatively minor violation in view of the others,
   16

   17   Defendant did not quote the INT in full in his responses. L.R. 33-2.
   18         B.     Requests for Productions of Documents.
   19
              In response to Plaintiff’s RFP, Defendant neither provided nor indicated that
   20

   21   he would provide even a single document. Rather, Defendant’s responses were
   22   nearly identical to his responses to the INT. In fact, he referred to each request as
   23
        an interrogatory. See Riley Decl., Ex. 5, passim. The only differences are that
   24

   25   Defendant did not include an objection that information is equally available to
   26   Plaintiff and, for responses to RFP Nos. 1-3, did not claim that the information is
   27
        not in his knowledge or possession at the present moment. For the same reasons
   28

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    1   these response are invalid in response to the INT, they are invalid as responses to

    2   the RFP. See Fed. R. Civ. P. 34(b)(2)(B) (requiring objections be stated with
    3
        specificity). Next, the Federal Rules requires that if a party is withholding
    4

    5   documents subject to an objection, he must state as such. Fed. R. Civ. P.

    6   34(b)(2)(C). There is no such statement in any response. See Riley Decl., Ex. 5,
    7
        passim. Finally, as with the other discovery, Defendant does not quote the RFP in
    8

    9   full in his responses. L.R. 34-2; Riley Decl., Ex. 5, passim

   10         C.     Requests for Admission.
   11
              Defendant begins his responses to the RFAs with a lengthy “Preliminary
   12

   13   Statement” that purports to reserve objections. Riley Decl., Ex. 6. Like the

   14   “General Objections” offered in response to the INT and RFP, this has no legal
   15
        efficacy. Defendant also purport to reserve the right to change his responses. That
   16

   17   is also impermissible. “A matter admitted under this rule is conclusively
   18   established unless the court, on motion, permits the admission to be withdrawn or
   19
        amended.” Fed. R. Civ. P. 36(b). Next, save for whether it ultimately ends with
   20

   21   “Admit” or “Deny,” Defendant includes the same response to every RFA:
   22         Responding party is unable to admit or deny because the
   23
              information known or readily obtainable is insufficient to enable the
   24

   25         responding party to admit the matter, although a reasonable inquiry
   26         concerning the matter in the particular request has been made,
   27
              Plaintiff (sic) objects to this interrogatory (sic) because it calls for
   28

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    1         the plaintiff (sic) to make a legal conclusion Subject to and without

    2         waiving these objections, and to the extent Defendant understands
    3
              this request, Defendant responds as follows: [Admit or Deny].
    4

    5   Riley Decl., Ex. 6, passim. First, the responses are internally inconsistent.

    6   Defendant initially says that he cannot “admit or deny” after reasonable inquiry,
    7
        but then does admit or deny each RFA. It must be one of the other. With respect to
    8

    9   the caveat, “to the extent Defendant understands this request,” this appears to be an

   10   attempt to introduce an escape hatch to permit Defendant to circumvent an earlier
   11
        response. If Defendant truly did not understand what a particular RFA was asking,
   12

   13   his obligation was to make a proper objection explaining why.

   14         With respect to the objection that the RFA call for a legal conclusion, it is
   15
        nonsensical to raise this objection to every RFA. The great majority of the RFAs
   16

   17   do not even allude to legal conclusions. Next, as a practical matter, while RFAs
   18   asking for pure legal conclusions may be impermissible, “Rule 36 [] allow[s] for
   19
        requests relating to ‘facts, the application of law to fact, or opinions about either.’”
   20

   21   Rule 36(a)(1)(A).” Daniels v. G4S Secure Sols. USA, Inc., 2021 WL 3742039, at
   22   *10 (C.D. Cal. Jan. 4, 2021) (citation/quotation in original). None of Plaintiff’s
   23
        requests address pure legal conclusions.
   24

   25         Finally, as with the INT and RFP, Defendant failed to quote the RFA in full
   26   in his responses. L.R. 36-2.
   27
        ///
   28

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    1   II.    PLAINTIFF IS ENTITLED TO ITS REASONABLE EXPENSES.

    2          Federal Rule of Civil Procedure 37(a)(5) provides for the imposition of the
    3
        reasonable expenses incurred, including attorneys’ fees, in bringing a motion to
    4

    5   compel. Fed. R. Civ. P. 37(a)(5). The award of expenses is mandatory unless one

    6   of the three Rule 37(a)(5) mitigating factors are present. See Id. (noting that the
    7
        Court “must” award such expenses in the absence of a mitigating factor). The
    8

    9   Court must decline to award expenses if it finds that Plaintiff, “filed the motion

   10   before attempting in good faith to obtain the disclosure or discovery without court
   11
        action[,]” or if it find Defendant’s actions “substantially justified[,]” or if “other
   12

   13   circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(i) –

   14   (iii). Here, there are no mitigating factors that would require this Court to decline
   15
        an award of reasonable expenses. Plaintiff sent a detailed deficiency letter that
   16

   17   outlined the particular defects in Defendant’s responses, and asked that he cure
   18   them. Riley Decl. ¶ 5; Id., Ex. 1. In that letter, Plaintiff stated, “[t]o avoid the
   19
        necessity of a Motion to Compel, I request that Defendant supplement and/or
   20

   21   modify his responses o cure the various deficiencies therein.” Riley Decl., Ex. 1 at
   22   1. The burden is on Defendant to demonstrate that his responses were
   23
        “substantially justified,’ or that an award would be unjust. Raygoza v. City of
   24

   25   Fresno, 297 F.R.D. 603, 608 (E.D. Cal. 2014).
   26          Should the Court grant Plaintiff’s Motion to Compel, Plaintiff respectfully
   27
        requests fourteen days to submit its reasonable expenses.
   28

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    1                                        CONCLUSION

    2         Defendant’s discovery responses and objections were invalid such that
    3
        Defendant must respond in full to Plaintiff’s discovery.
    4

    5

    6         WHEREFORE, Plaintiff respectfully requests that Honorable Court compel
    7
        Defendant to respond further to Plaintiff’s discovery by May 22, 2023, that the
    8

    9   Court grant Plaintiff’s its reasonable expenses related to this motion upon

   10   submission thereof, and that the Court order such other relief as may be just and
   11
        proper.
   12

   13

   14         The undersigned, counsel of record for Innovative Sports Management,
   15
        Inc., d/b/a Integrated Sports Media, certifies that this brief contains 2,203 words,
   16

   17   which complies with the word limit of L.R. 11-6.1.
   18

   19
        Dated: April 12, 2023                /s/ Thomas P. Riley
   20                                        LAW OFFICES OF THOMAS P. RILEY, P.C.
   21                                        By: Thomas P. Riley
                                             Attorneys for Plaintiff
   22                                        Innovative Sports Management, Inc.,
   23                                        d/b/a Integrated Sports Media
   24

   25

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   27

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